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       In The United States Court of Federal Claims
                                            No. 09-273T

                                       (Filed: May 14, 2010)
                                            __________
 DESERET MANAGEMENT
 CORPORATION,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                             _________

                                             ORDER
                                            __________

        On May 6, 2010, defendant filed a motion to amend the discovery schedule, which
plaintiff opposed in part. After reviewing the materials submitted by the parties, the court hereby
grants defendant’s motion, in part, and denies it, in part. Accordingly:

       1.       On or before August 27, 2010, lead expert witnesses shall be
                designated and lead expert witness reports shall be served, pursuant
                to RCFC 26(a)(2);

       2.       Depositions of expert witnesses regarding the subject matter of
                their lead reports shall take place between August 30, 2010 and
                October 4, 2010;

       3.       On or before October 29, 2010, rebuttal expert witnesses shall be
                designated and rebuttal expert witness reports shall be served,
                pursuant to RCFC 26(a)(2);

       4.       On or before November 19, 2010, the parties shall take the
                depositions of all rebuttal expert witnesses, and all fact and expert
                discovery shall be completed;

       5.       All discoverable documents related to a particular lead or rebuttal
                expert, other than that expert’s final report, must be produced at
                least 14 days before the deposition of that expert; and
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       6.       On or before December 5, 2010, the parties shall file a joint status
                report indicating how this case should proceed, with a proposed
                schedule, if appropriate.

       The parties should anticipate that no further enlargements of these deadlines will be
granted.

       IT IS SO ORDERED.



                                                        s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge




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